                           UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF WISCONSIN

STATE OF WISCONSIN LOCAL     )
GOVERNMENT PROPERTY          )
INSURANCE FUND,              )
                             )
               Plaintiff,    )
                             )
      v.                     )                        No.     2:15-cv-00142-JPS
                             )
LEXINGTON INSURANCE COMPANY, )
ET AL,                       )
               Defendants.   )

                    LEXINGTON INSURANCE COMPANY’S
         MOTION TO COMPEL PRODUCTION OF DOCUMENTS WITHHELD
         BY PLAINTIFF FROM NON-PARTIES’ RESPONSES TO SUBPOENAS

   Lexington Insurance Company (“Lexington”), by counsel and pursuant to FED. R. CIV. P. 37,

respectfully moves the Court for entry of an order compelling Plaintiff to produce documents

withheld from non-parties’ production in response to subpoenas. As detailed in the accompanying

memorandum, Plaintiff has not and cannot demonstrate applicability of the work product privilege

to the more than 973 documents listed on its privilege logs and, as Plaintiff’s privilege logs fail to

provide sufficient information to assess the applicability of the doctrine, an order for disclosure of

the documents is appropriate.

   Counsel for Lexington has made a good faith effort to resolve this discovery dispute with the

Fund’s counsel to no avail, and this motion is being brought for good cause and not for the purpose

of harassment or delay.

   WHEREFORE, Lexington Insurance Company respectfully requests this Honorable Court

issue an order granting Lexington’s motion and ordering the Fund to (1) produce all documents

withheld from the Unified production (2) produce all documents withheld form the Neenah



          Case 2:15-cv-00142-JPS Filed 05/17/17 Page 1 of 2 Document 88
production (3) produce all documents withheld from the Amset production created before

November 24, 2014 (4) produce the eight emails listed on page 20 of 32 of the Amset log dated

November 25, 2014 and December 1, 2014, and for such other relief the Court deems just and

appropriate.


                                                  Respectfully submitted,

                                                  LEXINGTON INSURANCE COMPANY

                                            By:   s/Jefferson D. Patten
                                                  One of Its Attorneys

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                                              2

         Case 2:15-cv-00142-JPS Filed 05/17/17 Page 2 of 2 Document 88
